
*1244ante, p. 437;
ante, p. 1218;
ante, p. 1218;
ante, p. 1229;
ante, p. 763;
ante, p. 1206;
ante, p. 1230;
ante, p. 1221;
ante, p. 1222;
ante, p. 1215;
ante, p. 1215;
ante, p. 333;
ante, p. 1216;
ante, p. 1216;
504 U. S. 975;
ante, p. 1216;
ante, p. 1207;
504 U. S. 960;
504 U. S. 987;
504 U. S. 988;
ante,.p. 1208;
504 U. S. 988;
ante, p. 1208;
ante, p. 1209;
ante, p. 1224;
*1245No. 91-8185.
No. 91-8223.
No. 91-8227.
No. 91-8236.
No. 91-8372.
No. 91-8396.
No. 91-8398.
No. 91-8465.
ante, p. 1225;
ante, p. 1225;
ante, p. 1225;
ante, p. 1226; .
ante, p. 1227;
ante, p. 1212;
ante, p. 1227; and
ante, p. 1228. Petitions for rehearing denied.
